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IN THE UNITED sTATEs DISTRICT coURT 95 sys _ g m |2= l g
FOR THE wEsTERN DISTRICT 0F TENNESSEE

 

 

wEsTERN DIVISIoN
PATRICIA CoLLINs, h
Plaintiff, ~
No. 04-2429 Ma/P
JOHN E. POTTER, ec. al.
Defendant.

 

 

 

Cornes now the PlaintiH` with her Motion to Amend the dates of the scheduling order in
this cause. In support of this Motion the Plaintiff flies the accompanying memorandum of law in

support, and proposed order for the Court’s convenience

LAW OFFICE OF FLORENCE M. JOHNSON
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Case 2:04-cV-02429-BBD-tmp Document 24 Filed 08/10/05 Page 2 of 3 Page|D 31

CERTIFICATE OF SERVICE
I certify that a copy of the foregoing pleading has been majled, postage prepaid to counsel
for Defendant, Linda Harris, Assistant United States Attomey, U.S. Department of Justice, 167

North Main Street, Suite 800, Memphis, Tennessee 38]03 this the 9th day of August 2005.

 

FLORENC . J SON

 

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Honorable Bernice Donald
US DISTRICT COURT

